                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF TENNESSEE
                                   AT NASHVILLE

Eric Munday,                                           )
                                                       )
         Plaintiff,                                    )
                                                       )
v.                                                     )
                                                       )      Civil Action No. 3:22-cv-00030
Corsair Pro LLC, and                                   )
Janis Lasmanis,                                        )
                                                       )
                Defendants.                            )


                            AMENDED COMPLAINT
               FOR VIOLATIONS OF THE FAIR LABOR STANDARDS ACT


        COMES NOW Plaintiff Eric Munday (hereinafter, “Plaintiff”), by and through counsel,

and for this Complaint against Defendants Corsair Pro LLC (hereinafter, “Corsair”) and Janis

Lasmanis (collectively “Defendants”), states and alleges as follows:

                                NATURE OF THE COMPLAINT

     1. Plaintiff brings this action against Defendants under federal law, specifically the Fair

        Labor Standards Act (“FLSA”), 29 U.S.C. § 201, et seq.

     2. Plaintiff brings this action against Defendants for unpaid wages, overtime compensation,

        and related penalties and damages.

     3. Defendants’ payroll policies and practices were and are in direct violation of the Fair Labor

        Standards Act (“FLSA”), 29 U.S.C. § 201, et seq.

     4. For said violations, Plaintiff seeks declaratory relief; unpaid back wages, overtime

        premiums for all hours worked over forty hours in a work week; liquidated and/or other

        damages as permitted by applicable law; and attorney’s fees, costs, and expenses incurred

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   in this action.

                                          PARTIES

5. Plaintiff Mr. Munday is an adult resident of Portland, Tennessee.

6. Defendant Janis Lasmanis is an adult resident of Tennessee.

7. Upon information and belief, Defendant Corsair Pro, LLC is a Tennessee-based limited

   liability company, and may be reached for service through its registered agent, Janis

   Lasmanis, 1700 Boxwood Drive, Nashville, Tennessee 37211-7534.

                             JURISDICTION AND VENUE

8. This Court has original federal question jurisdiction pursuant to 28 U.S.C. § 1311

   because this case is brought under the FLSA, 29 U.S.C. § 201, et seq.

9. Defendant Corsair is a legal entity incorporated in the State of Tennessee, is subject to

   service of process in Tennessee, and does business in the state of Tennessee. Therefore, this

   Court has personal jurisdiction over Corsair.

10. Defendant Janis Lasmanis is a resident of Tennessee and, consequently, this court has

   personal jurisdiction over him.

11. Venue is proper in this District pursuant to 28 U.S.C. § 1391(b) because a substantial

   part of the events giving rise to Plaintiffs’ claims occurred in this District.


                                FACTUAL BACKGROUND

12. Defendant Janis Lasmanis owns, operates, and manages Corsair Pro, LLC.

13. Defendants hired Plaintiff Mr. Munday on or about July 19, 2020 in to work on Paint

   Corrections as a Detailer.

14. Defendants controlled the work of Mr. Munday and he did not exercise any discretion on

   order pricing, work assignments, or customer interactions.

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15. Defendants provided Mr. Munday with all the materials and equipment required for his

   work.

16. Mr. Munday did not manage or supervise other Corsair employees or office personnel.

17. For the duration of Mr. Munday’s employment with Defendants, Mr. Munday worked more

   than fifty hours per week. Mr. Munday sometimes worked as much as seventy hours in a

   week.

18. For the duration of his employment with Defendants, Mr. Munday’s recorded and submitted

   his weekly hours to Corsair management.

19. Defendants paid Mr. Munday $20 per hour.

20. Defendants paid Mr. Munday using mobile applications, including Cash App, Venmo, and

   Zelle.

21. For the duration of Mr. Munday’s employment, Defendants did not pay Mr. Munday

   overtime premiums, or at least one- and one-half times the regular rate of pay for all work

   performed in excess of forty hours per week.

22. Although Defendant paid Mr. Munday on a 1099-basis as though he was “exempt” from

   the FLSA overtime requirements, Mr. Munday’s job duties and working conditions do

   not comport with any existing exemptions from FLSA overtime requirements. .

23. For the duration of his employment with Corsair, Mr. Munday did not manage, direct, or

   supervise the work of other Corsair employees. Mr. Munday also did not possess the

   authority to hire or fire other Corsair employees.

24. For the duration of his employment with Corsair, Mr. Munday did not have the authority

   to exercise discretion or independent judgment to deal with business operations, customer

   interactions, or other matters of significance to Corsair.


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25. Defendants knew or should have known that Mr. Munday’s position was not exempt from

   FLSA overtime requirements.

26. Defendants failed and refused to pay Mr. Munday overtime premiums for all hours worked

   over forty in any given workweek.

27. Defendants knew or should have known Mr. Munday had worked and recorded overtime

   hours but was not being paid an overtime premium as required under the Fair Labor

   Standards Act.

28. Despite their knowledge, Defendants willfully failed to pay Mr. Munday overtime pay for

   every hour worked over forty in a workweek.

29. In early April 2021, Mr. Munday sought the services of an attorney to bring legal action

   against Defendants for violations of the FLSA and the failure to pay overtime premiums.

30. On or about April 17, 2021, Defendants terminated Mr. Munday’s employment.

31. Defendant Mr. Lasmanis stated that Mr. Munday was terminated for his one-day absence

   on April 17, 2021.

32. Prior to his termination, Defendant Mr. Lasmanis had personally approved Mr. Munday’s

   absence from work on April 17, 2021 via text message. In the text message, Defendant Mr.

   Lasmanis told Mr. Munday to “Take the day off.”

33. Defendant Mr. Lasmanis approved Mr. Munday’s April 17, 2021 absence from work

34. After terminating Mr. Munday, Defendant Mr. Lasmanis specifically asked Mr. Munday

   about his search for an attorney.

                    COUNT I - FAILURE TO PAY OVERTIME IN
                 VIOLATION OF THE FAIR LABOR STANDARDS ACT

35. Plaintiff realleges and incorporates all allegations above as if actually set forth

   herein.

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36. At all relevant times, Defendants were an “employer” engaged in interstate

   “commerce” and/or in the production of “goods” for “commerce” within the meaning

   of the FLSA, 29 U.S.C. § 203.

37. At all relevant times complained of herein, Defendants were an employer under 29 U.S.C.

   § 203(e)(1).

38. The FLSA requires each covered employer, such as Defendants, compensate all non-

   exempt employees at a rate of not less than one and one-half the regular rate of pay for

   work performed in excess of forty hours in a work week.

39. At all relevant times, Plaintiff was a non-exempt employee within the meaning of the

   FLSA, 29 U.S.C. § 213.

40. Defendants willfully failed and refused to pay Plaintiff overtime premiums for all hours

   worked over forty in any given workweek throughout the time in which Plaintiff was

   employed by Defendants.

41. As a result of Defendants’ failure to compensate Plaintiff at a rate of not less than one

   and one-half times the regular rate of pay for all work performed in excess of forty

   hours in a work week, Defendants have violated the FLSA, 29 U.S.C. § 207(a)(1).

42. The foregoing conduct, as alleged, constitutes willful violations of the FLSA within

   the meaning of 29 U.S.C. § 255(a).

43. The foregoing conduct, as alleged, also fails to meet the standard of good faith

   compliance with the FLSA within the meaning of 29 U.S.C. § 260.

                           COUNT II—RETALIATION IN
                   VIOLATION OF THE FAIR LABOR STANDARDS ACT

44. Plaintiff realleges and incorporates all allegations set forth above as if actually set

   forth herein.

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45. The FLSA prohibits employers from terminating employees in retaliation for the

    employee’s assertion rights under the FLSA. 29 U.S.C. § 215 (a)(3).

46. Retaliation in violation of the FLSA is shown when: (1) the employee engaged in a

    protected activity under the FLSA; (2) the employee’s exercise of this right was known to

    the employer; (3) thereafter, the employer took an employment action adverse to him; and

    (4) there was a causal connection between the protected activity and the adverse

    employment action. See Mansfield v. City of Murfreesboro, 706 F. App'x 231, 236 (6th

    Cir. 2017) (quoting Adair v. Charter Cty. of Wayne, 452 F.3d 482, 489 (6th Cir. 2006)).

47. An employee has engaged in protected activity under the FLSA, if he “filed any

    complaint or instituted or caused to be instituted any proceeding” for violations of the

    FLSA. 29 U.S.C. § 215 (a)(3).

48. Pursuant to the FLSA, “a complaint is filed when a reasonable, objective person would

    have understood the employee to have put the employer on notice that the employee is

    asserting statutory rights under the Act.” Kasten v. Saint-Gobain Performance Plastics

    Corp., 563 U.S. 1, 14 (2011) (internal quotations omitted).

49. It is objectively reasonable to believe that hiring an attorney to assist in filing a lawsuit

    for violations of the FLSA is an assertion of rights pursuant to the FLSA.

50. Mr. Munday, therefore, engaged in protected activity when he sought an attorney to assist

    him in asserting his rights under the FLSA.

51. Defendants were aware that Mr. Munday was engaged in protected activity.

52. Defendant Mr. Lasmanis confirmed such awareness when he asked Mr. Munday directly

    about Mr. Munday’s search for an attorney.

53. The FLSA specifically enumerates discharging an employee as an adverse employment

    action. 29 U.S.C. § 215 (a)(3).
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54. Defendants, therefore, took an adverse employment action against Mr. Munday when

   terminating him.

55. The causal connection can be inferred based on the “temporal proximity” or closeness in

   time, between the employee engaging in protected and suffering an adverse employment.

   Dye v. Office of the Racing Comm'n, 702 F.3d 286, 305 (6th Cir. 2012) (addressing first

   amendment retaliation).

56. The causal connection between Mr. Munday’s engagement in protected activity and Mr.

   Munday’s termination can be inferred from their close temporal proximity, less than a

   month, between the two events.

57. The inference of causation is strengthened when the employee can show that the

   employer’s proffered reason for the termination is pretextual. Joostberns v. United Parcel

   Servs., Inc., 166 F. App'x 783, 795 n.7 (6th Cir. 2006).

58. Defendant Mr. Lasmanis terminated Mr. Munday for a single day absence that Defendant

   Mr. Lasmanis expressly approved.

59. The close temporal proximity and pretextual reason for terminating Mr. Munday

   demonstrate the causal connection between the protected activity and adverse

   employment action.

60. Defendants retaliated against Mr. Munday when they discharged him, in violation of .

   FLSA. 29 U.S.C. § 215 (a)(3).

                                PRAYER FOR RELIEF

   WHEREFORE, Plaintiff Eric Munday prays for relief as follows:

   1. A declaratory judgment that the practices complained of herein are unlawful under the

       FLSA;

   2. Pre-judgment interest, as provided by law;
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        3. An award of money damages for unpaid wages, including liquidated damages,

            compensatory and punitive damages in an amount to be determined at trial;

        4. An award of costs and expenses of this action incurred herein, including reasonable

            attorneys’ fees and expert fees;

        5. Any and all such other and further legal and equitable relief as this Court deems

            necessary, just, and proper


                                      DEMAND FOR JURY TRIAL

        Plaintiff hereby demands a jury trial on all causes of action and claims with respect to

which he has a right to jury trial.


                                                   Respectfully submitted,


                                                    s/Philip Oliphant_______________
                                                   Alan G. Crone, TN Bar No. 014285
                                                   Philip Oliphant, TN Bar No. 025990
                                                   THE CRONE LAW FIRM, PLC
                                                   88 Union Avenue, 14th Floor
                                                   Memphis, TN 38103
                                                   800.403.7868 (voice)
                                                   901.737.7740 (voice)
                                                   901.474.7926 (fax)
                                                   acrone@cronelawfirmplc.com
                                                   poliphant@cronelawfirmplc.com

                                                   Attorneys for Plaintiff




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